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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

  UNITED STATES OF AMERICA,                 )
                                            )
                       Plaintiff,           )
                                            )               8:07CR417
                vs.                         )
                                            )               ORDER
  RICKY GENE JACKSON,                       )
                                            )
                       Defendant.           )

         Defendant Ricky Gene Jackson appeared before the court on Wednesday,
  March 6, 2013 on an Amended Petition for Warrant or Summons for Offender Under
  Supervision [98]. The defendant was represented by CJA Panel Attorney Richard
  P. McGowan and the United States was represented by Assistant U.S. Attorney
  Michael P. Norris on behalf of John E. Higgins. The government did not request
  detention therefore, the Defendant was not entitled to a preliminary examination.
  The defendant was released on current terms and conditions of supervision.
         I find that the Report alleges probable cause and that the defendant should
  be held to answer for a final dispositional hearing before Judge Bataillon.
         IT IS ORDERED:
         1.     The government’s motion to withdraw the Petition for Warrant or
  Summons for Offender Under Supervision [91] is granted.
         2.     A final dispositional hearing will be held before Judge Bataillon in
  Courtroom No. 3, Third Floor, Roman L. Hruska U.S. Courthouse, 111 South 18th
  Plaza, Omaha, Nebraska, on April 5, 2013 at 3:00 p.m. Defendant must be present
  in person.
         3.     The defendant is released on current conditions of supervision.
         DATED this 6th day of March, 2013.

                                                   BY THE COURT:

                                                   s/ F. A. Gossett
                                                   United States Magistrate Judge
